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Paul Carlos Southwick (OSB 095141)
Religious Exemption Accountability Project
Paul Southwick Law, LLC
8532 N. Ivanhoe St. #208,
Portland, OR 97203
Email: paul@paulsouthwick.com
Phone: 503-806-9517

Rachel Erica Livingston (NYS Bar 4347084)
(pro hac vice pending)
Paul Southwick Law, LLC
8532 N. Ivanhoe St. #208,
Portland, OR 97203
Email: rachel@paulsouthwick.com
Phone: 503-806-9517

                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF OREGON
                               EUGENE DIVISION

   Elizabeth HUNTER; Veronica Bonifacio             )
   PENALES; Alex DURON; Zayn SILVA;                 )
   Rachel MOULTON; Victoria Joy BACON;              )    Case No. 6:21-cv-474
   Avery BONESTROO; Nathan BRITTSAN;                )
   Hayden BROWN; Brooke C.; Gary                    )    CLASS ACTION COMPLAINT
   CAMPBELL; Tristan CAMPBELL; Natalie              )
   CARTER; Rachel HELD; Lauren                      )    DECLARATORY AND
   HOEKSTRA; Chandler HORNING; Louis                )    INJUNCTIVE RELIEF
   JAMES; Jonathan JONES; Ashtin                    )
   MARKOWSKI; Cameron MARTINEZ; Joanna              )    JURY TRIAL DEMANDED
   MAXON; Mackenzie MCCANN; Darren                  )
   MCDONALD; Scott MCSWAIN; Faith
                                                    )
   MILLENDER; Jaycen MONTGOMERY;
                                                    )
   Journey MUELLER; Jake PICKER; Danielle
   POWELL; Megan STEFFEN; Spencer J.                )
   VIGIL; Lucas WILSON; and Audrey                  )
   WOJNAROWISCH, on behalf of themselves            )
   and all others similarly situated,               )
                                  Plaintiffs,       )
                     v.                             )
                                                    )
    U.S. DEPARTMENT OF EDUCATION; and               )
    Suzanne GOLDBERG, in her official capacity as   )
    Acting Assistant Secretary for the Office of    )
    Civil Rights, U.S. Department of Education.     )
                                Defendants.         )

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Plaintiffs, by and through undersigned counsel, hereby allege as follows:
                                        INTRODUCTION
       1.       Thirty-three Plaintiffs bring this class action to put an end to the U.S. Department

of Education’s complicity in the abuses and unsafe conditions thousands of LGBTQ+ students

endure at hundreds of taxpayer-funded, religious colleges and universities. The Plaintiffs seek

safety and justice for themselves and for the countless sexual and gender minority students whose

oppression, fueled by government funding, and unrestrained by government intervention, persists

with injurious consequences to mind, body and soul.

       2.       The Department’s inaction leaves students unprotected from the harms of

conversion therapy, expulsion, denial of housing and healthcare, sexual and physical abuse and

harassment, as well as the less visible, but no less damaging, consequences of institutionalized

shame, fear, anxiety and loneliness.

       3.       The U.S. Department of Education is duty-bound by Title IX and the U.S.

Constitution to protect sexual and gender minority students at taxpayer-funded colleges and

universities, including private and religious educational institutions that receive federal funding.

The religious exemption to Title IX, however, seemingly permits the Department to breach its duty

as to the more than 100,000 sexual and gender minority students attending religious colleges and

universities where discrimination on the basis of sexual orientation and gender identity is codified

in campus policies and openly practiced.

       4.       When taxpayer-funded religious institutions require sexual and gender minority

students to hide their identity out of fear, or to behave contrary to their fundamental sexual or

gender identity, the unsurprising consequences are intense pain, loneliness and self-harm. Students

perceive that their campus, and even their government, believes that they are inferior in dignity


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and worth. The status quo, where the Department leaves such students on their own in this perilous

limbo, results in concrete, verifiable and widespread harms. Each Plaintiff has their own story of

oppression to tell, and each Plaintiff represents thousands more whose stories deserve to be heard.

        5.       Religious exemptions may be constitutionally permissible, or even compelled,

when the government regulates private action, even where some amount of harm to members of

the community is involved. However, when the government provides public funds to private

actors, like the colleges and universities represented by Plaintiffs, the Constitution restrains the

government from allowing such private actors to use those funds to harm disadvantaged people.

This Constitutional principle remains true even when the private actors are operating according to

sincerely held religious beliefs, and it remains true whether the people they are harming are racial

or ethnic minorities, sexual or gender minorities or those who reflect multiple, intersecting

identities.

        6.       Consequently, while the statutory religious exemption to Title IX may permit, or
even require, the Department to refuse assistance to sexual and gender minority students like the
Plaintiffs, the Constitution forbids such inaction. Plaintiffs ask this Court to declare that the
religious exemption to Title IX, as applied to sexual and gender minority students, is
unconstitutional and that the Department must enforce the protections of Title IX at all taxpayer-
funded educational institutions, including at those institutions that discriminate and cause harm on
the basis of sincerely held religious beliefs.

                                  JURISDICTION AND VENUE

        7.       This Court has jurisdiction over this action pursuant to 5 U.S.C. § 702, as it
challenges the action of a federal agency, and 28 U.S.C. § 1331, as this action asserts constitutional
claims under the First, Fifth and Fourteenth Amendments.
        8.       This Court has jurisdiction to issue declaratory and injunctive relief pursuant to 28

U.S.C. §§ 2201 and 2202 and Rule 57 of the Federal Rules of Civil Procedure.


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        9.       Venue is proper in the District of Oregon under 28 U.S.C. § 1391(e)(1) because a

substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in this judicial

district. The Department of Education permits at least five universities in this district, including

George Fox University, where one Plaintiff is a current student and another Plaintiff is a former

student, to openly discriminate against sexual and gender minority students, and has affirmatively

granted religious exemptions from Title IX as applied to sexual and gender minority students to

multiple universities in this district.

        10.      Divisional venue is appropriate because the Department of Education permits at

least two universities in this division to openly discriminate against sexual and gender minority

students, and has affirmatively granted at least one university in this division, Corban University,

a religious exemption from Title IX as applied to sexual and gender minority students.

Consequently, a substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred

in this division.

                                                PARTIES

        11.      Plaintiff Elizabeth Hunter is a resident of Greenville, South Carolina. She graduated

from Bob Jones University (Greenville, South Carolina). Plaintiff Hunter describes her experience

at Bob Jones University in her Declaration attached as Exhibit A.

        12.      Plaintiff Veronica Bonifacio Penales is a resident of Waco, Texas. She is a student

at Baylor University (Waco, Texas). Plaintiff Penales describes her experience at Baylor in her

Declaration attached as Exhibit B.

        13.      Plaintiff Alex Duron is a resident of Fresno, California. His admission to a graduate

nursing program was rescinded by Union University (Jackson, Tennessee). Plaintiff Duron

describes his experience with Union in his Declaration attached as Exhibit C.


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       14.     Zayn Silva is a resident of New York City, New York. He was denied admission to

Nyack College (Manhattan, NYC). Plaintiff Silva describes his experience with Nyack in his

declaration attached as Exhibit D.

       15.     Rachel Moulton is a resident of Riverside, California. She attended Brigham Young

University-Idaho (Rexburg, Idaho). Plaintiff Moulton describes her experience at BYUI in her

Declaration attached as Exhibit E.

       16.     Victoria Joy Bacon is a resident of Rowlett, Texas. Fae graduated from Lipscomb

University (Nashville, Tennessee). Plaintiff Bacon describes faer experience at Lipscomb in faer

Declaration attached as Exhibit F.

       17.     Nathan Brittsan is a resident of San Jose, California. He was expelled by Fuller

Theological Seminary (Pasadena, California). Plaintiff Brittsan describes his experience at Fuller

in the Declaration attached as Exhibit G.

       18.     Hayden Brown is a resident of York, Nebraska. They are a student at York College

(York, Nebraska). Plaintiff Brown describes their experience at York College in the Declaration

attached as Exhibit H.

       19.     Brooke C. is a resident of Cedarville, Ohio. They are a student at Cedarville

University (Cedarville, Ohio). Brook is using a pseudonym because she fears for her safety and

status at Cedarville University if her true identity was known. Plaintiff C. describes her experience

at Cedarville in the Declaration attached as Exhibit I.

       20.     Gary Campbell is a resident of Apollo Beach, Florida. He was expelled by Clarks

Summit University (Scranton, Pennsylvania). Plaintiff Gary Campbell describes his experience at

Clarks Summit University in the Declaration attached as Exhibit J.




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       21.     Tristan Campbell is a resident of Belmont, Massachusetts. He attended Oklahoma

Christian School (Edmond, Oklahoma) and Oklahoma Baptist University (Shawnee, Oklahoma).

Plaintiff Tristan Campbell describes his experience at Oklahoma Baptist University in the

Declaration attached as Exhibit K.

       22.     Natalie Carter is a resident of College Park, Georgia. She is currently a student at

Toccoa Falls College (Toccoa, Georgia). Natalie is using a pseudonym because she fears for her

safety and status at Toccoa Falls College if her true identity was known. Plaintiff Carter describes

her experience at Toccoa Falls in the Declaration attached as Exhibit L.

       23.     Rachel Held is a resident of Mechanicsburg, Pennsylvania. She is currently a

student at Messiah University (Mechanicsburg, Pennsylvania). Plaintiff Held describes her

experience at Messiah in the Declaration attached as Exhibit M.

       24.     Lauren Hoekstra is a resident of Sioux Center, Iowa. They are currently a student

at Dordt University (Sioux Center, Iowa). Plaintiff Hoekstra describes her experience at Dordt in

the Declaration attached as Exhibit N.

       25.     Chandler Horning is a resident of Meridian, Idaho. He graduated from Brigham

Young University-Idaho (Rexburg, Idaho). Plaintiff Horning describes his experience at BYUI in

the Declaration attached as Exhibit O.

       26.     Louis James is a resident of Marion, Indiana. He is a current student at Indiana

Wesleyan University (Marion, Indiana). Louis James is using a pseudonym because he fears for

his safety and status at Indiana Wesleyan University if his true identity were known. Plaintiff

James describes his experience at Indiana Wesleyan in the Declaration attached as Exhibit P.




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       27.      Jonathan Jones is a resident of Azusa, California. He is a current student at Azusa

Pacific University (Azusa, California). Plaintiff Jones describes their experience at Azusa Pacific

in the Declaration attached as Exhibit Q.

       28.      Ashtin Markowski is a resident of Springville, Utah. She graduated from Brigham

Young University-Provo (Provo, Utah). Plaintiff Markowski describes her experience at BYU-

Provo in the Declaration attached as Exhibit R.

       29.      Cameron Martinez is a resident of Riverside, California. They are a current student

at La Sierra University (Riverside, California). Plaintiff Martinez describes their experience at La

Sierra in the Declaration attached as Exhibit S.

       30.      Joanna Maxon is a resident of Hurst, Texas. She was expelled by Fuller Theological

Seminary (Pasadena, California). Plaintiff Maxon describes her experience at Fuller in the

Declaration attached as Exhibit T.

       31.      Mackenzie McCann is a resident of Bethlehem, Pennsylvania. She attended Liberty

University (Lynchburg, Virginia). Plaintiff McCann describes their experience at Liberty in the

Declaration attached as Exhibit U.

       32.      Darren McDonald is a resident of Portland, Oregon. He is a graduate of Westmont

College (Santa Barbara, California) and Fuller Theological Seminary (Pasadena, California).

Plaintiff McDonald describes his experiences at Westmont and Fuller in the Declaration attached

as Exhibit V.

       33.      Scott McSwain is a resident of Tacoma, Washington. He is a graduate of Union

University (Jackson, Tennessee). Plaintiff McSwain describes his experience at Union in the

Declaration attached as Exhibit W.




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       34.     Faith Millender is a resident of St. Davids, Pennsylvania. She is a current student

at Eastern University (St. Davids, Pennsylvania). Plaintiff Millender describes her experience at

Eastern in the Declaration described as Exhibit X.

       35.     Jaycen Montgomery is a resident of Portland, Oregon. He previously attended

George Fox University (Newberg, Oregon). Plaintiff Montgomery describes his experience at

George Fox in the Declaration attached as Exhibit Y.

       36.     Journey Mueller is a resident of Longmont, Colorado. She attended Colorado

Christian University (Lakewood, Colorado). Plaintiff Mueller describes her experience at

Colorado Christian in the Declaration attached as Exhibit Z.

       37.     Jake Picker is a resident of Waco, Texas. He is a current student at Baylor

University (Waco, Texas). Plaintiff Picker describes his experience at Baylor in the Declaration

attached as Exhibit AA.

       38.     Danielle Powell is a resident of New Orleans, Louisiana. They were expelled by

Grace University (Omaha, Nebraska). Plaintiff Powell describes their experience at Grace in the

Declaration attached as Exhibit BB.

       39.     Megan Steffen is a resident of Chicago, Illinois. She graduated from Moody Bible

Institute (Chicago, Illinois). Plaintiff Steffen describes her experience at Moody Bible Institute in

the Declaration attached as Exhibit CC.

       40.     Spencer Vigil is a resident of Seattle, Washington. He graduated from Seattle

Pacific University (Seattle, Washington). Plaintiff Vigil describes his experience at Seattle Pacific

in the Declaration attached as Exhibit DD.




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       41.     Lucas Wilson is a resident of Toronto, Canada. He graduated from Liberty

University (Lynchburg, Virginia). Plaintiff Wilson describes his experience at Liberty in the

Declaration attached as Exhibit EE.

       42.     Audrey Wojnarowisch is a resident of Newberg, Oregon. She is a current student

at George Fox University (Newberg, Oregon). Plaintiff Wojnarowisch describes her experience at

George Fox in the Declaration attached as Exhibit FF.

       43.     Avery Bonestroo is a resident of Sioux Center, Iowa. She is a current student at

Dordt University (Sioux Center, Iowa). Plaintiff Bonestoo describes her experience at Dordt in the

Declaration attached as Exhibit GG.

       44.     The Plaintiffs are or have been federal income taxpayers.

       45.     Most Plaintiffs remain in debt for the money they borrowed from the U.S.

Department of Education to attend their respective colleges and universities.

       46.     Defendant U.S. Department of Education (“the Department”) is a federal agency

headquartered in Washington, D.C. The Department establishes and implements policies on

federal financial aid to educational institutions, including private and religious colleges and

universities, and is charged with prohibiting discrimination and ensuring equal access to education.

       47.     The Department’s Office of Civil Rights (OCR) enforces several federal civil rights

laws that prohibit discrimination in programs or activities that receive federal financial assistance

from the Department, including Title IX of the Education Amendments of 1972, which prohibits

sex, sexual orientation and gender identity discrimination.

       48.     Defendant Suzanne Goldberg is the Acting Assistant Secretary, Office of Civil

Rights, at the Department. In this capacity, Goldberg oversees the Department’s Title IX

enforcement.



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                                         FACTUAL ALLEGATIONS

                    PLAINTIFFS AND THEIR COLLEGES OR UNIVERSITIES

                                  Elizabeth Hunter – Bob Jones University

           49.      "The campus culture at BJU is toxic for LGBTQ+ people. Homophobia among the

student body, faculty, and administration is rampant. LGBTQ+ students have to hide who we are

and will suffer grave consequences if we come out and stand up for ourselves."

           50.      Elizabeth Hunter was a student at Bob Jones University (“BJU”). She graduated in

2019.

           51.      BJU enrolls 3,008 students.1

           52.      BJU has requested and received religious exemptions from the Department that

purportedly allow BJU to discriminate against LGBTQ+ students. See Exhibit HH.

           53.      Elizabeth was in the child welfare system until she was ten years old. She survived

a sexual assault during this period of her life.

           54.      Elizabeth was eventually placed with a Texas family that was part of an infamous

Christian fundamentalist cult.

           55.      Elizabeth attended Bob Jones because, as a woman, her parents believed she should

not attend college. She thought that BJU was the only school her parents would allow her to go

to, because of its highly conservative policies. She applied to the school without her parents’

knowledge.

           56.      Bob Jones is notorious for these extreme policies. In 1983, the US Supreme Court

required it to reverse policies that disallowed interracial dating.




1
    Data based on most recent government data available at https://nces.ed.gov/collegenavigator/

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        57.     A 2014 report found that BJU promoted an environment whereby sexual assault

survivors were blamed for their abuse. The report also faulted BJU for failing to report these crimes

to local authorities.

        58.     BJU targets its LGBTQ+ population with cruel policies, including a human

sexuality policy that categorizes being gay with bestiality and polygamy as prohibited behaviors.

        59.     "As someone figuring out their sexuality while at college, Bob Jones University's

policies on sexuality and marriage created a scary, harsh environment for me," Elizabeth says.

        60.     Elizabeth was never out about her sexuality at BJU. However, she suffered harsh

discipline from the school after BJU discovered her online activity.

        61.     BJU disciplined Elizabeth for posting about LGBTQ+ issues on social media,

including her posts about reading a book with a lesbian main character, and about writing a book

including a lesbian relationship. School administrators called upon Elizabeth to meet with them.

        62.     This meeting lasted for three hours.

        63.     Bob Jones University administrators referred to print-outs of Elizabeth's social

media post history as evidence she must be gay. They then attempted to force her to admit she

was homosexual.

        64.     Elizabeth adamantly denied that she had been sexually active with women or men.

She did, however, tell the administration that she was "not straight" and was possibly asexual, like

the apostle Paul.

        65.     Elizabeth was disciplined by BJU authorities when she refused to disavow her

support for LGBTQ+ rights and relationships. School authorities removed Elizabeth from a

beloved, on-campus position, forced her into mandatory counseling with the Dean of Women, and

required her to pay a monetary fine.



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       66.     "For the rest of my time at BJU, I was forced completely back in the closet and had

to hold my head down in shame." Elizabeth also says, "this was the darkest month of my entire

life. I felt depressed and suicidal."

       67.     Elizabeth says that BJU’s policy towards LGBTQ+ students “creates extreme

shame and confusion by lumping all sexual behavior outside of heterosexual marriage, including

homosexuality, adultery, and bestiality, into the same category."

                        Veronica Bonifacio Penales – Baylor University

       68.     "The school's common response to my reporting hate on campus is that I should go

to counseling. As a result, I stopped reporting incidents."

       69.     Veronica is a queer, nineteen-year-old woman who attends Baylor University.

       70.     Baylor enrolls 18,033 students.

       71.     Baylor has requested and received a religious exemption from the Department

relating to “premarital unchastity” and other issues. Exhibit II.

       72.     Veronica has been harassed online and on campus by other Baylor students because

of her sexuality.

       73.     A Bible with anti-LGBT passages highlighted in it was left at her dorm door with

a note saying, "I'm praying for you."

       74.     An anonymous student frequently leaves post-it notes on her dorm door with the

slur “FA*.”

       75.     Veronica reported these incidents to Baylor but Baylor did not respond to her

complaints, and she continued to find hateful notes posted on her door.




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       76.     Baylor’s policy on Human Sexuality states: "Baylor will be guided by the biblical

understanding that human sexuality is a gift from God and that physical sexual intimacy is to be

expressed in the context of marital fidelity."

       77.     The policy goes on to state that "temptations to deviate from this norm include both

heterosexual sex outside marriage and homosexual behavior."

       78.     Baylor encourages its students "struggling" with same-sex attraction to attend its

counseling center.

       79.     Baylor forbids “advocacy groups which promote understandings of sexuality that

are contrary to biblical teaching."

       80.     Baylor’s civil rights policy states, "as a religiously controlled institution of higher

education, Baylor is exempt from compliance with select provisions of certain civil rights laws[.]"

       81.     Baylor's policies show that the school's "love your neighbor" lifestyle does not

extend to sexual and gender minority students.

       82.     Veronica feels that "Baylor cares more about its right to discriminate against its

queer and other students than it does about the health and safety of its queer and other students."

       83.     For the past ten years, the LGBTQ+ students at Baylor have asked Baylor to

approve the charter of their LGBTQ+ student club. Baylor has denied their request every time.

       84.     Baylor’s LGBTQ+ students gather unofficially for support through their club

Gamma Alpha Epsilon, but they do so as a second-class, unapproved organization.

                                 Alex Duron – Union University

       85.     "I went into shock. I felt like I was going to pass out."




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        86.    Alex Duron is an ICU nurse whose admission to a graduate nursing program at

Union University in Jackson, Tennessee was revoked in August of 2020 because Alex is gay and

engaged to a man.

        87.    Union enrolls 3,172 students.

        88.    Union sought and received religious exemptions from the Department to facilitate

its discrimination towards sexual and gender minorities. See Exhibit JJ.

        89.    Alex is a Latinx, Catholic man from Texas who is a first generation college

graduate.

        90.    Alex worked hard to build a nursing career by obtaining an Associate’s degree from

San Antonio College and a Bachelor's degree from the University of Texas, Arlington.

        91.    Alex worked as an ICU nurse for six and a half years before his admission to Union.

        92.    After Union University admitted Alex to its program, Alex prepared to start the

next chapter at his life by moving from San Antonio, Texas to Jackson, Tennessee. Alex sold his

car, quit his nursing job, paid his deposits to Union and secured graduate student housing.

        93.    Alex was proud of himself, and his family and nursing colleagues were proud of

Alex.

        94.    However, without warning, and only days before Alex was to start the Doctor of

Nursing Practice (DNP) program at Union, he received an email from Union telling him that his

admission was being rescinded because Alex is gay and engaged to man.

        95.    "I remember the moment I received that email vividly," Alex says.

        96.    "My future was ripped away from me.”

        97.    "It felt like all my work as an ICU nurse and all my prior degrees meant nothing."




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          98.    Alex, a grown man with a successful career, loving family and fiancé, went into his

closet, curled up into a ball, and cried.

          99.    At the time Union rescinded Alex’s admission, Union had a blanket ban on

homosexuality in its student handbook.

          100.   Union later changed its Community Values Statement to prohibit: "homosexual

behavior, even in the context of marriage."

          101.   Other LGBTQ+ students, many closeted, remain on campus at Union University.

          102.   Many of them are afraid that what Union did to Alex will be done to them if they

come out or are outed by other students.

                                    Zayn Silva – Nyack College

          103.   “Nyack’s rejection hurt and caused me anxiety and to feel depressed. I didn’t

immediately apply to another seminary because this rejection pushed me off course. I didn’t want

to go through a rejection from another school.”

          104.   Zayn Silva was in the process of applying to Nyack College, with intent to enter its

seminary program. In his application, he openly admitted to being a trans man and described how

this influenced his calling to the ministry.

          105.   Nyack enrolls 1,981 students.

          106.   Zayn is a Pentecostal Christian. His family’s church rejected him due to being

trans.

          107.   Despite this early rejection by his church, Zayn remains “a Christian with deep

faith.”

          108.   Zayn started an online platform as a way to help trans youth find a ministry.

          109.   According to Zayn, “I was further led by God to pursue a seminary education.”



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       110.    Zayn applied to Nyack after being told by multiple representatives from the school

that there would be no issues with him being trans.

       111.    Depending on these representations, Zayn described his faith journey and gender

transition in his application. Part of the application stated that “I dedicate every day to letting the

youth know, especially the marginalized LGBT, that God is the answer.

       112.    However, shortly after filing his application, he was contacted by the director of

admissions. The director informed Zayn that Nyack declined his application because he was

transgender and not ashamed nor repentant about it.

       113.    While the school claimed that they appreciated Zayn’s honesty about being trans,

Nyack rejected admission based on Zayn’s openness and disclosure of his gender identity in his

application.

       114.    Zayn was informed that the school’s board of trustees rejected his application

because they believe in “male and female.”

       115.    Nyack communicated about their rejection solely by telephone. The school ignored

Zayn's requests to put the rejection in writing. School authorities also ignored his requests to know

which of Nyack’s policies at the time he had violated. His follow-up requests were also ignored.

       116.    Nyack does not have a written policy or position statement on gender identity.

       117.    Zayn is starting a different educational program in the fall yet hopes to pursue a

seminary education soon.

                      Rachel Moulton – Brigham Young University-Idaho

       118.    “They compared LGBTQ+ people, who just wanted the right to marry the person

they love, to agents of Satan who were attacking the family.”




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        119.     Rachel Moulton was a student at Brigham Young University-Idaho ("BYUI")

through the end of 2020.

        120.     BYUI enrolls 39,145 students.

        121.     BYUI requested and received a religious exemption from the Department to

facilitate its discrimination against transgender students. See Exhibit KK.

        122.     BYUI and BYU-Provo are doing little make sure their LGBT students are safe -

mentally, emotionally, or spiritually.

        123.     Part of this destructive atmosphere includes teaching that even if Rachel and other

LGBT women “struggle with same-sex attraction, [they] could be happy marrying a man.” LGBT

students at BYU are also taught that they would “no longer experience same-sex attraction in the

afterlife.”

        124.     The teaching that there will be no same-sex attraction in the next life is a dangerous

one. It triggers suicidal ideation in some students who, like Rachel, would do “anything not to be

gay”, even if that includes ending their own lives.

        125.     This damaging message being communicated by BYU and the LDS church led

Rachel to attempt suicide halfway through her first semester at BYU Idaho.

        126.     “I felt damaged, cursed. I felt like I needed to be fixed, but no one and nothing

could fix me.”

        127.     By promulgating these messages, BYU policy makes some students desperate to

rid themselves of same-sex attraction, as they are taught they must do, and as they are told they

can do in the afterlife. This is a dangerous and irresponsible message.

        128.     BYU routinely teaches its students that “it was a sin to be married to the same

gender or act on homosexual feelings” and “we will never be as happy marrying someone of the



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same gender as we would be if we followed the commandment to marry someone of the opposite

sex.”

        129.   BYUI students have formed an unofficial LGBT support group, which is not

allowed to meet on campus.

        130.   BYU has a history of forcing its students into conversion therapy.

        131.   BYU briefly changed its honor code, seemingly allowing its LGBT students to date

and be open about their identity on campus. This led many LGBT students to believe it was safe

to come out as who they were.

        132.   This position was reversed by BYU, forcing its LGBT students to go back in the

closet while once again opening up those students to the risk of disciplinary action by the school.

        133.   Ultimately, Rachel left BYU.       She briefly attended online classes, but upon

realizing that BYU’s toxicity was not limited to in-person learning, she left once more to protect

her mental health.

        134.   Rachel has attended therapy for years, attempting to reconcile being gay and being

an LDS church member and former BYU student. “I know I am a child of God,” she says. “I know

now that being gay and being a child of God can both be true. This acceptance of myself has

healed me from a lot of the religious trauma I experienced earlier in my life.”

                           Victoria Joy Bacon – Lipscomb University

        135.   “I feel that Lipscomb’s policies towards sexual morality are left vague so they can

enforce the present policy how and when they feel like it. This puts queer and trans students at

risk of punishment and in a state of fear.”




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           136.   Lipscomb is a Christian university in Nashville, TN. It has a short and vague

statement on sexuality that says, “all students should practice biblical standards of sexual morality.

Sexual immorality of any kind is prohibited.”

           137.   Although Victoria was open about their identity in high school, at Lipscomb “I felt

unsafe on campus from the first day I moved in. As a result, I initially went back into the closet

as a freshman.” School officials would often make homophobic and transphobic statements to

Victoria. Lipscomb administrators would often overlook hateful behavior or statements. Students

and administrators at Lipscomb would subject Victoria to a barrage of hateful language, even slurs.

RA’s would witness Victoria being called slurs and would do nothing to intervene.

           138.   “I also felt in danger of physical harassment from other students,” Victoria says.

           139.   Queer and trans students asked the school to condemn a hateful speech given during

chapel. The school rejected this request, saying that intervention on behalf of its LGBT students

would offend donors.

           140.   “This experience created a time of intense trauma for me and the queer students on

campus,” Victoria says.

           141.   Victoria attempted to set up an LGBTQ+ group on campus, but Lipscomb refused

to accept the new club despite the application meeting all Lipscomb’s requirements.

           142.   Lipscomb's decision to allow this group to form was ultimately delayed until after

Victoria graduated.

           143.   During their time at Lipscomb, Victoria was sexually assaulted and did not feel safe

reporting it to the school. “I had heard from other sexual assault survivors how Lipscomb never

really helped them when they reported sexual assault.” As a result, Victoria never reported the

assault.



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                              Avery Bonestroo – Dordt University

       144.    "I fear that I will be forbidden to graduate or be forced to participate in conversion

therapy if I do come out."

       145.    Avery is bisexual and gender fluid. They are a student at Dordt University. Avery

feels compelled to remain closeted because of Dordt University's policies. These policies indicate

that Avery could face extreme discipline by the school, including possible expulsion or forced

therapy meant to "cure" them.

       146.    Dordt has several policies in its student handbook that discriminate against LGBT

students. Not only does the school forbid "homosexual relations" or "transgendered behavior,"

but the school even "prohibits promoting or advocating such activity."

       147.    Avery stands to be disciplined under Dordt's policies for everything from dating

their girlfriend to using the name or pronouns that reflect their gender identity.

       148.    Students and faculty have told Avery to dress and act "more feminine".

Additionally, Dordt repeatedly hosts speakers on campus who advocate for a non-affirming view

of LGBT students. Some professors teach that LGBT students are sinful and rejected by God.

       149.    Dordt does not provide an avenue for expressing positions that may not agree with

the school's stance.

       150.    Dordt's position on "homosexual relations" and "transgendered behavior" is not

only vague but casts suspicion on the school's LGBT students. They must constantly be on guard,

or they could face disciplinary action.

       151.    The school's policies are damaging to Avery and other LGBT students at Dordt.

Avery suffers from depression and anxiety. There are few resources in the part of Iowa where

Dordt is located that provide affirming support or assistance.



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       152.    Dordt fails to curtail harassing behavior by students based on their animosity

towards LGBT students, making the campus unsafe for those students as a whole.

                       Nathan Brittsan – Fuller Theological Seminary

       153.    “Fuller’s actions made me feel like a second-class Christian. They wanted to be rid

of me as fast as possible and offered me no love or grace.”

       154.    In his 20’s, after coming out, Nathan Brittsan drifted away from the church of his

youth. As he states, “more than adrift, I also felt pushed away from the church.”

       155.    Yet after having “profound spiritual experiences outside the church” and finding

other LGBT Christians, like himself, Nathan felt called to the ministry.

       156.    “I felt like God was calling me to an evangelical seminary like Fuller. I felt like

bridge-building needed to be done between the evangelical community and the LGBTQ+

community,” Nathan says.

       157.    Because of this calling, Nathan applied to and was admitted to Fuller Theological

Seminary in September 2017.

       158.    Unfortunately, Nathan only attended for several days before the school expelled

him for being gay and married to a man.

       159.    Fuller’s community standards state that “sexual union must be reserved for

marriage, which is a covenant between one man and one woman.” The community standards also

say that “homosexual forms of explicit sexual conduct [are] inconsistent with the teaching of

Scripture.”

       160.    When Nathan attempted to change his last name on school records to reflect his

marriage to a man, Fuller officials investigated Nathan. Fuller found that he was violating its

community standards and expelled him just days into his first term.



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         161.   Fuller officials repeatedly blocked Nathan from appealing its decision.

         162.   Fuller also claims that it is allowed to expel Nathan under a Title IX religious

exemption, in spite of Fuller’s policies stating that they do not discriminate based on sex and

gender identity.

         163.   Fuller sends the message of “love the sinner, hate the sin” through its policies,

which is detrimental to LGBT students by causing self-loathing and depression.

                                 Hayden Brown – York College

         164.   “My relationship with York College is very tumultuous. There are days where I

skip across campus because I am ecstatic and cannot wait to see my friends, but there are other

days where I do not have enough energy to get out of bed because I do not want to deal with all of

the microaggressions, stares, comments, and issues that York College brings into my life.”

         165.   Hayden Brown attended York College because they were struggling with their

sexuality. They felt that their sexuality was sinful and that they should reject it. They attended

York College hoping to “pray the gay away” and because their parents would pay for them to go

there.

         166.   “I became very depressed my freshman year because my attempt to be heterosexual

wasn’t working.”

         167.   Hayden came out to their parents their freshman year. Their parents set them to a

non-affirming therapist and also another non-affirming therapist on campus.

         168.   This therapy was all an attempt to make Hayden “less gay.”

         169.   Eventually, Hayden came out on Twitter and in person.




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       170.    After coming out on campus, school officials often subjected Hayden to

disciplinary action, most commonly due to dress code violations for wearing feminine style

clothing. As a result, the school asked Hayden to wear less feminine clothing.

       171.    York asked Hayden to withdraw from a study abroad program in Vienna, Austria,

due to their sexuality.

       172.    Hayden has been working with York’s Title IX coordinator and the person who

maintains York’s student handbook, along with other administrators at the school, to help it

become more accepting of its LGBT students.

       173.    These administrators refused to add sexual orientation and gender identity to the

school’s non-discrimination policy. They also declined to change the school’s definition of

marriage to be more inclusive.

       174.    York rejected a suggestion to start a gay-straight alliance for being “too divisive.”

       175.    There is an unofficial LGBTQ+ club on campus, which Hayden helped to found.

York disapproves of the club. As a result, the club cannot meet or promote meetings or events on

campus. York also forbids the group from advertising on social media.

       176.    Hayden is often called slurs in their dorm or on campus. “I could not count the

number of times I’ve heard it [the “f” word] on campus.”

       177.    Hayden also feels at risk of attack on campus, taking extra precautions when

coming to and from their dorm room when it is dark.

       178.    Other students on campus receive similar treatment.

       179.    York College maintains that it has no duty to protect its LGBT students because it

has a Title IX religious exemption through the Department of Education.




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                               Brooke C. – Cedarville University

       180.    “I am told bluntly in classes and chapel that I am unnatural, inherently bad, and

deserving of eternal damnation because of who God made me.”

       181.    Brooke is using a pseudonym for this case. She fears for her safety and expects

retaliation from Cedarville University. She is concerned about disciplinary action or expulsion if

Cedarville discovers her identity and involvement in this lawsuit.

       182.    Brooke is a demisexual, pansexual, cis woman who is in a long-term relationship

with her non-binary partner.

       183.    Cedarville University has policies surrounding sexual purity, including strict

policies regarding LGBT identity.

       184.    Part of this policy states, “consistent with our desire to teach and model a biblical

approach to sex, the university prohibits same-sex dating behaviors and public advocacy for the

position that sex outside a biblically defined marriage is acceptable.”

       185.    This prohibition on same-sex dating and advocacy of anything other than

heteronormative relationships creates a chilling effect on discussions of sexuality and gender.

       186.    While clubs on campus propagate racist and homophobic rhetoric with the approval

of Cedarville, students who wish to express LGBT affirming views are denied a venue.

       187.    According to Brooke, “Even being discovered to have brought a book by a queer

affirming author would get me in trouble and monitored.”

       188.    Brook says, “I feel completely unsafe on campus.” Cedarville will discipline

students for even slight infractions. The School also has been known to throw students out when

they are known to vary from the School’s biblical perspective of gender, marriage, and sexuality.

       189.    There are no queer-affirming groups or even any affirming role models on campus.



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       190.    “Every day on campus is one of secrecy and anxiety,” Brooke says.

       191.    Brooke suffers from extreme depression and anxiety and says she is terrified of

coming out or being outed.

       192.    Cedarville University has a religious exemption with the Department of Education.

It weaponizes this exemption against its LGBT students.           This weaponization creates an

environment for these students which is unsafe – emotionally, spiritually, and even physically.

       193.    Brooke fears assault on campus. Cedarville has a reputation for dismissing students

filing Title IX complaints about sexual harassment or other sexual misconduct.

       194.    According to Brooke, Cedarville often considers these assault survivors to have

violated school policy. “If I were assaulted on campus, I would not feel safe reporting it to

Cedarville because of their religious exemption to Title IX, ‘purity’ policies, and anti-queer

policies,” Brooke says.

       195.    Brooke is looking forward to a time when it is safe for her to join an already
established group of LGBT Alumni from Cedarville.

       Gary Campbell – Clark’s Summit University (Formerly Baptist Bible College)

       196.    “My school’s policies made me feel very small, watched, subpar, subhuman,
broken, and damaged.”
       197.    Gary Campbell was a student at Baptist Bible College in the early 2000s. He

attended after being persuaded to by a youth pastor.

       198.    Gary’s parents and pastoral staff at the school agreed Gary would seek treatment

and accountability for his “homosexual sin.” Gary was also subjected to increased scrutiny by the

school. He was spoken to and even disciplined for school policy violations related to his sexuality.




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       199.    On one alarming occasion, Gary was coerced into kissing and touching a dorm

mate. The dorm mate pressured Gary into these activities with the express purpose of setting him

up to be disciplined.

       200.    “I convinced myself this was justifiable behavior by the other student. I now realize

I was violated,” Gary says. “I would not have been a willing participant in an activity specifically

and solely geared towards getting me punished.”

       201.    This “setting up” of LGBT students to coerce them into violating school policies

also happened to other students Gary was going to school with at the time. This indicates

systematic attacks by the school’s students against other students, all being ignored by the college.

       202.    Eventually, Gary left the school after he decided to no longer pursue his degree

there. From this point, Gary lived openly and dated a man. However, he was dealing with the

psychological damages of his time at Baptist Bible College. Gary was suffering the effects of

Religious Trauma Syndrome. He was also self-medicating with alcohol at the time. This coping

mechanism resulted in multiple hospitalizations and two stints in rehab.

       203.    Gary did get sober. In 2019, after reaching two years of sobriety, Gary tried to

enroll in his school again, now named Clark’s Summit University.

       204.    Gary was reaccepted to the school and was assured his sexuality would no longer

be an issue with the school. He was called by the Dean of Men, who congratulated him on going

back to school. Gary had six credits left to complete.

       205.    Two weeks before starting, Gary’s reacceptance to Clark’s Summit University was

rescinded because Gary is gay.




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        206.   “I felt devastated by this decision.    I worked incredibly hard after years of

alcoholism to rebuild my life. This decision also brought back the trauma of what happened at the

school back in the early 2000s.”

        207.   Gary suffers from continued depression and anxiety, for which he takes medication.

“I struggle with not feeling good enough and am hypersensitive to criticism. I feel unsafe around

other Christians,” Gary says.

                      Tristan Campbell – Oklahoma Baptist University

        208.   "He [the dean of students] told me that what he was trying to say is that if I came

out publicly and remained a student at OBU, he couldn't guarantee my safety."

        209.   Tristan Campbell came out as bisexual on Coming Out Day 2015. OBU's response

was to dismiss Tristan from the school without notice. He found out when the registrar informed

him he'd been administratively withdrawn and asked Tristan where he would like his transcripts

sent.

        210.   OBU has a section about human sexuality in its student handbook, which includes

the wording "due to sin and human brokenness, human experiential perception of sex and gender

is not always that which God the Creator originally designed." There are descriptions of prohibited

behaviors, which seem hyper-focused on trans and other LGBT individuals.

        211.   According to Tristan, these policies were consistent with his belief system at the

time. Tristan says he spent years trying to "overcome same-sex attraction" through "prayer,

reading books, and self-discipline."

        212.   This did not work for Tristan, and "my mental health started deteriorating, and I

made no progress towards overcoming my attractions despite my several years of intense efforts."




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       213.     After Tristan found himself counseling a youth on overcoming his same-sex

attraction, things changed for him. "I knew I was giving this youth dangerous, false advice, and it

troubled me."

       214.     After this incident and another where a resident director told Tristan that he couldn't

trust an RA because they were gay, Tristan said his anxiety got very bad, and he decided to get

some help.

       215.     Tristan came out to his therapist in the spring of 2015. He later came out to friends.

"This was very good for my mental health," Tristan said.

       216.     While faculty and students that Tristan came out to were generally supportive, OBU

reacted with condemnation and discipline.

       217.     Tristan was fired as a resident assistant. The school told him that, as a bisexual, he

was not allowed to serve in this role. The school also said that other students who came out were

harassed, and the school couldn't guarantee Tristan's safety. OBU eventually dismissed Tristan

from OBU without notice.

       218.     During his time at OBU, Tristan was assaulted by a romantic partner. Tristan felt

unsafe filing a Title IX complaint for various reasons, including that he would face repercussions

from OBU. Tristan was forced to forgo protections and still had to continue attending classes, and

even lived in the same dorm as his assailant.

       219.     Tristan started an LGBTQ+ group for OBU students and alumni. Through this

group, he learned of other such incidents surround OBU and LGBT students. These students have

"lost scholarships, been removed from sports teams, and been harassed."

       220.     OBU has a religious exemption with the Department of Education. The group that

Tristan founded has been trying to convince OBU to give back this exemption to no avail.



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       221.    "Current LGBTQ+ students at OBU are at immediate risk of anxiety, depressions,

disciplinary action, and expulsion because of their LGBTQ+ identities and relationships," says

Tristan.

                             Natalie Carter – Toccoa Falls College

       222.    Natalie is using a pseudonym as she fears repercussions from Toccoa Falls

       223.    College if they were to discover who she is and her participation in this suit.

       224.    Natalie began attending Toccoa Falls College in Toccoa Falls, Georgia in August

2016. She expects to graduate in July 2021.

       225.    Toccoa Falls College’s student handbook states that “The College expects all

members of the community to refrain from any form of sexual immorality including, but not

limited to, any form of extramarital sexual activity, adultery, promiscuity, touching of intimate

parts above or below clothing, homosexual behavior, transgenderism, viewing/participating in

pornography, or sharing sexual images of one’s self or others. Cohabitation is also not allowed.”

       226.    Students are then encouraged to go to counseling for “proactive education or

assistance with relationship issues.”

       227.    Natalie is a queer woman.

       228.    Natalie did not want to go to Toccoa Falls College from the moment she stepped

on campus for a tour there during her senior year of high school. She felt a strong vibe that this

was not the school for her. She had not come fully to terms with her sexuality and was suppressing

it.

       229.    Natalie does not feel safe on campus and feels strongly that she would not be

supported if she came out.




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       230.    Natalie feels silenced, and she experiences stomach distress knowing that she

cannot safely express all that she is.

       231.    Toccoa Falls College puts out messaging about loving people wholeheartedly and

loving all that each person is. But Natalie feels like she is not being loved for who she is, but only

for half of who she is. If people at the school were to discover the other half, she feels she would

be disowned.

       232.    Natalie does not feel safe coming out on social media because she is afraid of other

students at the school outing her or the school finding out about her sexual orientation on its own.

       233.    Natalie feels like the school would throw her out if she were outed.

                                Rachel Held – Messiah University

       234.    “It is scary knowing that such an intimate part of life can be policed by university

administrators.”

       235.    Rachel is a bisexual woman who is attending Messiah University. They are

engaged to a cis man who does not attend Messiah.

       236.    Rachel says that they are comfortable talking about their fiancé on campus because

he is a cis man. But Rachel is keenly aware that “I would not feel comfortable talking about my

fiancé on campus, and could be subject to disciplinary action if my fiancé was a female or a

transgender male.”

       237.    Rachel fears that if the wrong people at Messiah found out they are bisexual, they

could be disciplined or even dismissed by Messiah.

       238.    Messiah believes that the Bible teaches that marriage is between one man and one

woman. Its policies towards LGBT students encourage them to “refrain from same-sex sexual




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expression.” The school forbids LGBT students from identifying as a couple or “exhibiting

expressions of physical intimacy.”

       239.    Rachel must take precautions with whom they decide to come out to. “I feel safe

coming out to my friends and some professors and staff. However, I would not publicize it to

people I don’t know.”

       240.    The school holds relatively progressive philosophies compared to other religious

schools.    Its animosity towards its LGBT students contrasts with that.              Messiah tolerates

homophobia.

       241.    “Messiah University says that ‘students who identify as LGBT are welcomed at

Messiah University’ However, I feel like Messiah’s welcome falls short because they adopt the

‘love the sinner, hate the sin’ mentality. It is almost more painful than an explicitly unwelcoming

environment because it makes me think I will be fully safe and accepted as a bisexual student on

campus, when in fact, I am not,” Rachel says.

                              Lauren Hoekstra – Dordt University

       242.    "We are held to a different, stricter level than straight students."

       243.    Lauren is a queer woman who attends Dordt University.

       244.    Dordt strictly regulates romantic relationships, especially for its LGBTQ+ students.

Dordt's student handbook details forbidden behaviors, including sexual behaviors, and takes a

stance against LGBTQ+ students.

       245.    Among the activities that the school has declared unbiblical include "promoting or

advocating sexually immoral activity," "extramarital sexual relations," "homosexual relations,"

and "transgendered behavior."




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        246.    Homophobia is rampant at Dordt and LGBTQ+ students fear coming out. They

risk discipline, expulsion, and rejection and harassment from other students.

        247.    Students have sent Lauren harassing messages, professors have taught that people

who practice homosexuality will burn in hell, and a Dordt administrator told her that she could

come out but only if she didn't blatantly promote homosexuality or put her relationship "in the

face" of the people on campus.

        248.    Nevertheless, Lauren did come out and has lost friends at Dordt as a result.

        249.    There are no LGBTQ+ role models at Dordt to help students feel accepted. There

is no place on campus for LGBTQ+ students to get support.

        250.    LGBTQ+ students are left at the whim of Dordt's policies and how Dordt chooses

to enforce those policies.

        251.    Lauren suffers from anxiety about the reactions she may receive due to her coming

out. She also feels depression related to feeling different from other students. Lauren states that

she feels "repressed in my own identity and feelings.”

                    Chandler Horning – Brigham Young University-Idaho

        252.    Chandler started attending Brigham Young University Idaho (BYUI) in Rexburg,

ID in September 2015. He graduated in April 2020.

        253.    He chose to stay at Brigham Young after he came out because he was too far into

his time at school to be able to logically and easily transfer his credits.

        254.    BYU’s recent history regarding its stance on queer students is volatile. In February

2020, the school removed language banning same-sex romantic attraction from its policies.

However, a few weeks later, a commissioner from the LDS church sent out a letter stating in no

uncertain terms that “the moral standards of the Church did not change” and that “same-sex



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romantic behavior cannot lead to eternal marriage and is therefore not compatible with the

principles included in the honor code.”

       255.    Presently BYU’s honor code states that students, faculty, and staff must “live a

chaste and virtuous life, including abstaining from any sexual relations outside of a marriage

between a man and a woman.”

       256.    BYUI also has a page on their counselling center website specifically discussing

same sex attraction that says: “Sadly, anxiety, depression, social difficulties, feelings of isolation,

and even suicidal thoughts may arise for individuals experiencing same-gender attraction.” The

resources on this page lead only to LDS-approved materials.

       257.    Chandler is a gay man.

       258.    Chandler did not feel safe coming out on campus. After he did come out, he

switched to attending school online. When he had to go back to on-campus learning, he put himself

back in the closet for two semesters.

       259.    If Chandler had acted in any way on his sexuality, even if it was to hold hands with

a man, he could have been expelled.

       260.    BYUI policies make Chandler feel like “a flawed alien not worthy to live or exist."

       261.    Chandler feared that he would not only get expelled but he would also be evicted

from his BYU housing for breaking the honor code.

       262.    Students who are expelled or suspended are evicted within three days from BYUI’s

mandatory, approved unmarried student housing.

       263.    Losing his housing would have left Chandler homeless in rural Idaho.

                          Louis James – Indiana Wesleyan University

       264.    “I thought everyone was staring at me, thinking I was gay too.”



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        265.    Louis is using a pseudonym for this case. He fears discrimination, dismissal, and

academic harm from students, faculty, and staff if Indiana Wesleyan University discovers his

identity.

        266.    IWU requires students to “refrain from inappropriate sexual relationships outside

of a marriage between one man and one woman,” and states that “sexual relationships outside of

marriage and sexual relationships between persons of the same sex are immoral and sinful.”

        267.    IWU goes on to say that “we believe the grace of God sufficient to overcome the

practice of such activity and the perversion leading to its practice.”

        268.    Louis, who himself had to largely go back into the closet at IWU, knows that “there

are so many IWU students in hiding.”

        269.    IWU told Louis that they accept LGBTQ+ students, but their handbook says

otherwise.

        270.    Louis worries about whether he’ll be kicked out for being gay.

        271.    In August of 2020, Louis saw that a bunch of students were sharing a post about an

RA who was fired for being gay. That made Louis think he had made a mistake in coming to IWU.

        272.    As a result of IWU’s policies and actions towards its LGBTQ community, Louis

went into an emotional spiral last year, not sleeping and barely eating. He felt anxiety whenever

he walked around campus.

        273.    Louis wants people to remember that LGBTQ+ students have feelings too and need

safety and freedom just like everyone else.

                           Jonathan Jones – Azusa Pacific University

        274.    "This was a very scary time. I had started feeling safe coming out. Other students

had started to feel safe coming out. And now this felt like a trick, like a trap."



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       275.    Jonathan Jones is bisexual, non-binary, and gender fluid. They currently attend

Azusa Pacific University ("APU").

       276.    In Jonathan's sophomore year, Azusa Pacific announced that it was reversing its

stance on same-sex dating and that it would no longer be banned.

       277.    This reversal led many students, including Jonathan, to celebrate. These students

believed they would be able to integrate their faith and their sexual identity and feel safe on

campus.

       278.    However, APU then reversed course again after pressure from some constituencies,

reinstating its ban on same-sex dating.

       279.    Soon after, APU appeared to reverse itself for the third time and now no longer

addresses same-sex dating in its student policies. However, it remains unclear whether same-sex

dating is allowed.

       280.    In addition to shifting back and forth on whether LGBTQ+ students are permitted

to date, APU refuses to grant club status to the LGBTQ+ student group on campus.

       281.    The school designates the LGBTQ+ group as a ministry rather than a club. This

puts the LGBTQ+ group on an unequal financial footing with clubs. Also, the group cannot fully

decide on its programming and a staff member must be present at meetings. APU even forced the

group to change its name from Haven, to Tapestry.

       282.    APU’s separate but equal treatment of the LGBTQ+ student group is not truly equal

and feels stigmatizing.

       283.    For all of these reasons, Jonathan feels unsafe at APU on an institutional level.

       284.    Jonathan also feels unsafe because APU routinely caters to its conservative donors,

putting its LGBTQ+ students' health and safety at risk.



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                   Ashtin Murkowski – Brigham Young University-Provo

       285.    Ashtin started attending Brigham Young University in Provo, UT in September

2014. She graduated in December 2020.

       286.    Ashtin chose Brigham Young because of family tradition and religious affiliation.

       287.    Ashtin is a lesbian woman.

       288.    Ashtin did not generally feel safe coming out on the BYU campus.

       289.    Ashtin held an on-campus job at the Missionary Training Center where she trained

missionaries and taught people about her church online. She did this for two and a half years.

       290.    Ashtin was fired from this job after she cut her hair to better match her gender

expression. This firing was done according to the school’s purported rules, saying that her hair

was “extreme and distracting” and that it was “too masculine, not feminine enough”.

       291.     Ashtin did not feel that she was going against the school’s dress and grooming

standards and that BYU’s interpretation of these rules was very subjective. This seemed especially

subjective because the school had just hired a man with bleached hair, which was against the rules

for men.

       292.    Even though Ashtin graduated months ago, she still feels like she is going to “get

in trouble” because of how she constantly had to worry that she would be thrown out of school for

dating someone of the same gender.

       293.    Like many other BYU students, Ashtin was thrilled when BYU changed their

Honor Code to remove the prohibition on “homosexual behavior”.

       294.    When the church responded by declaring that “homosexual behavior does not lead

to eternal marriage” it did not make sense to Ashtin.




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       295.    Ashtin felt like BYU wanted an excuse to not allow non-sexual same-gender

behavior such as dating, handholding, kissing, or cuddling.

       296.    As a result of her time at BYU and because of their policies, Ashtin was diagnosed

with generalized anxiety disorder and major depressive disorder. She is currently working with a

LGBTQ+ affirming therapist for religious trauma and C-PTSD.

                          Cameron Martinez – La Sierra University

       297.    Cameron began attending La Sierra University in September 2017. They expect to

graduate in June 2022.

       298.    La Sierra has a Sexual Morality policy listed in its student handbook which

addresses both LGBTQ students and cohabitating students. It states, in part, “we resolve to live

consistently within traditional Christian values and teaching on sexuality.” The statement goes on

to say “La Sierra’s policies are informed by an Adventist understanding of biblical principles. The

university acknowledges the complexity of issues surrounding sexuality and is committed to the

open and rigorous study of Scripture and discussion of all perspectives, both inside and outside the

classroom.”

       299.    La Sierra’s student handbook states that it supports “the Seventh-day Adventist

position on Homosexuality.”

       300.    The Seventh-Day Adventist position on Homosexuality states: “The Bible makes

no accommodation for homosexual activity or relationships. Sexual acts outside the circle of a

heterosexual marriage are forbidden[.]”

       301.    The Seventh-day Adventist position statement refers to Bible verses that state: “‘If

a man has sexual relations with a man as one does with a woman, both of them have done what is

detestable. They are to be put to death; their blood will be on their own heads.” Leviticus 20:13.



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       302.    Cameron is a queer, non-binary person.

       303.    As a student, Cameron's problems have been with the administration and its actions,

rather than with other students.

       304.    Because of vague and problematic policies or their performative activism, queer

students aren’t protected at La Sierra.

       305.    When LGBTQ+ students have filed complaints of discrimination, staff and faculty

use their discretion to justify the lack of change on campus.

       306.    The administration does not fully support the LGBTQ+ group on campus as it is

not allowed to be an officially recognized club.

       307.    While La Sierra no longer punishes a student merely for identifying as LGBTQ+,

the school continues to adhere to a policy that considers homosexual activities and relationships

to be “detestable,” as is stated in the Seventh-day Adventist position on Homosexuality that is

formally adopted by La Sierra in its Sexual Morality policy.

       308.    During Cameron’s time as a criminal justice student, they witnessed ample amounts

of homophobia and transphobia on campus.

       309.    Cameron was once sat down by the director of the Corona, California campus to

listen to the director's statements promoting the righteousness of heterosexuality.

       310.    Cameron has personally witnessed professors using hate speech about queer

identities during lectures, with students present.

                         Joanna Maxon – Fuller Theological Seminary

       311.    “I spent nearly a year holding the pain and anger inside and not talking with friends

or a therapist about it because I was not emotionally able to face what Fuller had done to me.”




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       312.     Joanna Maxon was very proud of her admission to Fuller Theological Seminary.

“Earlier in life, I struggled to finish life goals,” she says, “it was really important to me to finish

the program.”

       313.     Joanna never graduated from Fuller, unfortunately. She was expelled with just a

few remaining credits after Fuller discovered she was married to a woman.

       314.     Joanna was expelled after a financial aid employee reported her to the school’s

administration. Joanna disclosed her marriage to a woman on a financial aid document.

       315.     However, as Joanna states: “I felt safe being out about my sexuality with other

students and professors at Fuller. I spoke and wrote about my family, including my wife and

daughter. None of my professors or other students expressed concern to me about my same-sex

marriage.”

       316.     Fuller's Title IX administrator was one of the people enforcing Fuller’s

discriminatory actions against Joanna. Fuller did not provide a Title IX administrator with whom

Joanna could seek help.

       317.     At the time of her expulsion, Joanna was five classes short of completing her

degree, after having attended Fuller for three years.

       318.     Joanna currently attends therapy for emotional distress resulting from her expulsion

and the issues that it brought up. She says she felt “lost and confused.”

       319.     “I do not want anyone else to be injured in the way I have been,” Joanna says.

                            Mackenzie McCann – Liberty University

       320.     “From the minute I set foot on Liberty’s campus, I knew it’d never be safe to be

authentically myself.”

       321.     Mackenzie is a queer, non-binary former student of Liberty University.



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       322.     Liberty has a reputation for its conservative beliefs. Its student handbook, for

example, has a section on sexuality and relationships that states, “sexual relations outside of a

biblically ordained marriage between a natural-born man and natural-born women are not

permissible.”

       323.     Mackenzie describes their time at Liberty as filled with misogynistic and

homophobic comments. These comments came from faculty and students alike. This included

words to “pray for a lesbian” and slurs, along with comments about Mackenzie’s appearance.

       324.     “Students at Liberty behave in homophobic and anti-queer ways because they know

they can do so with relative impunity. Liberty’s culture enables such conduct and makes students

feel like Liberty is backing them,” Mackenzie says.

       325.     During her time at Liberty, Mackenzie started dating a woman, long-distance. They

describe how this period at Liberty caused serious emotional distress. “The secrecy and self-doubt

was a huge strain and source of anxiety. I felt like I could not trust my heart because my beliefs

and Liberty’s policies told me my heart desired something sinful,” Mackenzie says of their

experience.

       326.     Mackenzie left Liberty after one semester “for my own emotional safety.”

       327.     “My mental health struggles stemmed from the repercussions of Liberty’s campus

climate, in which my queer identity was demonized as something evil,” Mackenzie says.

              Darren McDonald – Westmont College, Fuller Theological Seminary

       328.     “I did not feel safe coming out. I did not feel safe existing. The cultural climate at

Westmont and Fuller was harsh with homosexuality positioned as an ‘issue’ and an enemy of the

church.”




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       329.    Darren attended Westmont College in Santa Barbara, California, graduating in

2002. He also attended Fuller Theological Seminary in Pasadena, California, graduating in 2006.

       330.    Darren is a gay man. He is also partially sighted.

       331.    “I grew up knowing I had to follow the rules because I needed the approval of my

parents and church for my safety and protection,” Darren says. He later goes on to say, “I found

a lot of acceptance in the church because I was not viewed as a blind, fat kid like I was at school.

I was viewed as a whole person and part of a family.”

       332.    Darren was bullied heavily at the public school that he attended. He says that he

chose both Westmont and Fuller because of the bullying he faced.

       333.    Both Westmont and Fuller have statements in their handbooks regarding human

sexuality and marriage.

       334.    Westmont only allows sexual expression within the bounds of heterosexual

marriage, forbidding sexual relations between same-sex partners. Westmont also says that “when

a student approaches us and communicates that he or she is struggling with sexual purity or same-

sex attraction, we aim to offer safety that promotes openness, to communicate personal acceptance,

and provide accountability and assistance to support students to live consistently with biblical

teaching.”

       335.    Fuller’s statement is similar in many ways and states that marriage is between one

man and one woman. It forbids “homosexual forms of explicit sexual conduct.” Fuller also

encourages abstinence from “unbiblical sexual practices” amongst members of its community.

       336.    Darren says he was deeply in denial about his sexuality. “I suppressed my sexuality

for a long time, in part, because of the cultural narrative that treats disabled people as non-sexual

beings.”



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        337.    He also did not feel safe coming out at Westmont or Fuller. He did “not feel safe

existing.”

        338.    Darren faced harassment and discrimination at both institutions. He was forced to

act as a gay stereotype at a Westmont student event. The result was ridicule from the other

students. “I felt like a contemptible monstrosity. I internalized it for a very long time,” Darren

says.

        339.    Darren also had to deal with issues at Fuller, such as being forced to participate in

a lecture that framed lesbians wanting to join a church as a controversial issue.

        340.    Darren felt the need to drink to survive his classes emotionally. He says he felt

suicidal.

        341.    Both schools suggested conversion therapy to treat his emotional distress and

suicidality.

        342.    “I still suffer from depression, anxiety, shame, and internalized homophobia as a

result of attending these schools,” Darren says.

                                          Scott McSwain

        343.    Scott started attending Union University in Jackson, TN in July 2006. He graduated

in May 2010.

        344.    Scott was originally supposed to attend Murray State University in Kentucky but,

when his father found out Scott’s roommate to be was gay, his family decided it was best to attend

a school where surrounding Scott with godly people would have a more “positive” effect on him.

        345.    Union has included “Community Values Statements” in the student handbook that

goes to all students. These statements address a number of the school’s moral and ethical

standards, including standards affecting queer and gender non-conforming students.



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       346.    "The “Community Values Statements” include a paragraph on “Sexually Impure

Relationships" that states “Sexually impure relationships include but are not limited to

participation in or appearance of engaging in premarital sex, extramarital sex, homosexual

activities, or cohabitation. Union affirms that sexual relationships are designed by God to be

expressed solely within a marriage between a man and a woman. The Bible condemns all sexual

relationships outside of marriage (Matt. 5:27-29; Gal. 5:19). The promotion, advocacy, defense or

ongoing practice of a homosexual lifestyle (including same-sex dating behaviors) is also contrary

to our community values. Homosexual behaviors, even in the context of a marriage, remain outside

Union’s community values. We seek to help students who face all types of sexual temptation,

encouraging single students to live chaste, celibate lives, and encouraging married students to be

faithful to their marriage and their spouse.”

       347.    The policy goes on to address transgender students in a “Gender Identity”

paragraph which states: “Union adheres to the biblical tenet that God created only two genders,

that He fashioned each one of us and thus designated our gender/sex. Therefore, identifying oneself

as a gender other than the gender assigned by God at birth is in opposition to the University’s

community values. Further, engaging in activities or making any efforts to distinguish or convert

one’s gender/sex to something other than the gender/sex to which you were biologically born and

which was God-given (i.e. transvestites, transsexuals, transgenders, etc.) is prohibited.”

       348.    The school dress code also commands that faculty, students, and staff must “dress

in such a way that represents their legal gender”.

       349.    Scott is a gay man.

       350.    During his time at Union, the school found out Scott was gay.




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        351.   Union officials took Scott into a dimly lit room where they told him that he was

going to hell and that the school was worried for his soul.

        352.   Union officials told Scott that he would be thrown out and all of his credits taken

away if he did not attend sexual conversion therapy.

        353.   Scott was given vouchers for an Exodus International approved therapist.

        354.   Scott was also required to install software that would send the school his online

history every week.

        355.   During his time in conversion therapy, Scott was sexually assaulted by his therapist.

        356.   Union University subjected Scott to severe psychological torture through their

discipline.

        357.   Union’s policies made Scott feel that he was subpar and subhuman in their eyes.

        358.   As a result of Union’s actions, Scott was diagnosed with anxiety and panic disorder.

Scott has been to urgent care multiple times for panic attacks, including as recently as August of

2020.

                             Faith Millender – Eastern University

        359.   “I feel like I am disregarded and that my sexuality makes me ‘less than’ other

students because of these policies.”

        360.   Faith is a bisexual/queer woman who attends Eastern University.

        361.   She is co-president of Eastern’s official LGBTQIA+ club, Refuge. Refuge’s goals

are “To provide a safe place for queer students and allies, to be seen and heard,” and to “[p]rovide

advocacy and education for the non-affirming constituencies on our campus.”

        362.   Eastern sanctioned the club in 2017.




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       363.    Eastern prohibits sexual expression outside a biblically-sanctioned marriage

between one man and one woman.

       364.    Despite Eastern’s partial support for its LGBTQ+ students, the school is not an

affirming one. Its policies ultimately result in LGBTQ+ students not feeling safe and accepted at

Eastern.

       365.    Eastern’s policies lead to anxiety amongst LGBT students because it is unclear

whether it is safe to come out on campus.

       366.    Faith does not feel safe with some faculty and staff members because of their

homophobia.

       367.    Additionally, Faith’s program at Eastern, nursing, does not educate about LGBTQ+

health care.

       368.    Faith believes that her nursing program administrators would not protect her if she

faced discrimination from patients or providers.

       369.    According to Faith, “while Eastern provides a better environment for queer students

than some other Christian colleges, I still feel frustrated and invalidated because of my school’s

policies on sexual orientation.”

                      Journey Mueller – Colorado Christian University

       370.    "I barely survived this experience."

       371.    Journey Mueller says that to stay alive, she had to leave Colorado Christian

University (“CCU”).

       372.    Journey, a lesbian woman, attended CCU from August 2017 until April 2018.




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       373.    While a student, Journey's roommates locked her in a dorm room and forced her to

confess to being attracted to women. Journey's roommates then reported her to the school for

breaking the school's policy on sexuality.

       374.    The school did not discipline Journey's roommates for locking her in her room.

Rather, the school instead severely punished Journey for her sexual orientation, eventually forcing

her to leave for mental health reasons.

       375.    CCU’s current sexuality policy for students states that “some human beings

experience confusion regarding their gender identity and/or sexual orientation. When students at

CCU find themselves with questions regarding their gender identity, or sexual orientation, they

are encouraged to come forward and take advantage of the University’s Counseling Center services

and pastoral resources to help guide and direct them through their struggle. At times it may be

necessary to remove a student from specific involvement such as athletic team participation,

leadership positions, or other University activities either temporarily or permanently. The

University will allow students to continue their enrollment at the University as long as they can

remain celibate, and as they undergo counseling and mentoring….If a student does engage in a

same-sex relationship, violates the policy on same-sex behavior, or exhibits same-sex intimate

relationship behavior anytime during the mentoring, he or she will be disciplined within the terms

of the sexual conduct/activity policy.”

       376.    “CCU endorses healthy heterosexual relationships that uphold God’s desire for

sexual purity and which seek to honor Him through a holistic biblical relationship.”

       377.    Acting pursuant to its student policies, CCU disciplined Journey by forcing her to

participate in conversion therapy with the goal of making her straight. CCU also compelled




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Journey to attend "ex-gay" chapels at the school where same-gender relationships were demonized

and abstinence was touted as the solution to same-sex attraction.

       378.      Additionally, school officials removed Journey from her dorm and forced her into

a housing situation where she would not be around women and was isolated.

       379.      CCU also blocks access to Pro-LGBTQ+ websites and resources on its campus

internet. This blocked Journey and continues to block other students from essential resources and

support.

       380.      The toxic policies of CCU resulted in a snitching culture and policies that seek to

eliminate CCU's queer population. CCU encourages an environment that allows bullying and peer

pressure, harassment, isolation, and extreme psychological damage of LGBTQ+ students.

           381. As a direct result of CCU's discriminatory practices, Journey suffered greatly. Her

emotional health suffered to the point of suicide attempts and self-harm.

           382. Journey was clinically diagnosed with PTSD due to her experience at CCU.

           383. Journey's relationship with her parents also suffered.

           384. As a result of CCU’s actions, she experienced a period of housing instability.

           385. CCU sought and received a religious exemption from Defendant U.S. Department

of Education. This exemption effectively enables the discrimination and harassment of LGBTQ+

students at CCU.

                                        Jaycen Montgomery

           386. Jaycen started attending George Fox University (GFU) in Newberg, Oregon in

August 2012. He left in March 2016 without graduating.

           387. GFU has a “Lifestyle Statement” which states, “In regard to sexual morality, we

believe that only marriage between a man and a woman is God's intention for the joyful fulfillment



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of sexual intimacy. This should always be in the context of mutual compassion, love, and fidelity.

Sexual behaviors outside of this context are inconsistent with God's teaching. We recognize these

principles may conflict with the practice or opinion of some within the larger culture. We are

convinced that this is God's design for providing the most loving guidance and practice for

individuals and our community.”

       388. GFU’s student handbook states that “George Fox University accepts the biblical

standards that prohibit all sexual immorality” and that “we believe the power of God and the

wisdom of the Holy Spirit combine to provide the means to live victoriously with respect to sexual

purity.”

       389. Jaycen is a transgender man of open sexuality.

       390. George Fox University's policies and practices made him feel excluded and

unrecognized.

       391. Jaycen dealt with a lot of anxiety and depression as well as not feeling safe as one

should expect to feel in their school.

       392. While a student at GFU, Jaycen requested to move from women's housing to and

to live with other men after his transition.

       393. Living in a women's dorm meant that each day, the first thoughts Jaycen had were

about his struggles living in a body that never felt right to him.

       394. Living in women's housing while undergoing testosterone therapy was especially

challenging for Jaycen.

       395. George Fox officials initially denied his request to live with other men because

Jaycen is a transgender man.




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       396. Jaycen filed a Title IX complaint with the U.S. Department of Education regarding

this housing discrimination.

       397. George Fox University requested a religious exemption from the U.S. Department

of Education so that they could maintain their discriminatory housing policy while continuing to

receive federal funding.

       398. The U.S. Department of Education granted GFU’s request for a religious exemption

and closed Jaycen’s complaint file with the Department as a result of that exemption.

       399. GFU currently maintains a policy on transgender students, which states, in part:

“Given the varying circumstances of students identifying as transgender, addressing their

particular needs will be evaluated on a case-by-case basis, prioritizing the well-being of the

individual and community alike.”

                                  Jake Picker – Baylor University
       400. “Baylor claims to love its LGBTQ+ students, yet they refuse to grant us access to

any form of student support system. They treat our existence like there is something inherently

wrong with us.”

       401. Jake is a pre-med student at Baylor and a bisexual man.

       402. Jake is in a leadership position at Gamma Alpha Upsilon, the only “official”

unofficial LGBTQ+ support group for Baylor students.

       403. Baylor refuses to grant Gamma Alpha Upsilon’s charter, cutting off an important

source of representation and restricting the ability of LGBTQ+ students to support one another.

       404. Baylor has an official stance on human sexuality, which includes a definition of

marriage as between a man and a woman. The policy also states that Baylor students are expected

to refrain from participating in groups that “promote understandings of human sexuality that are

contrary to biblical teaching.”

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          405. Baylor also encourages its students who are “struggling” with their sexual identity

to attend counseling at an on-campus counseling center.

          406. While Baylor is unlikely to discipline its queer students for being queer, it creates

a hostile environment for its LGBTQ+ students.

          407. For example, an LGBTQ+ student is likely to face discipline if they openly show

affection for a same-sex partner on campus.

          408. “Baylor has made its LGBTQ+ students feel like they are less than and
undesirable.”
                                Danielle Powell – Grace University

          409. “I have lost so much due to Grace University’s actions. I lost respect, equal
treatment, vocational opportunities, financial earnings, anonymity, etc. I do not want other
students to have to face the same losses.”
          410. Danielle Powell was a student at Grace University, which is now permanently

closed.

          411. Included in Grace’s student policies was a section on dating. It stated, in part,

“sexual fulfillment is reserved by God for heterosexual marriage.” The policy also promised

discipline for “homosexual acts,” among other things.

          412. Danielle started to question her sexuality in her senior year at Grace when she

started having feelings for her best friend – a woman.

          413. “I did not know in detail the consequences of coming out at that time,” says

Danielle. “I did not know that the culture of Grace University did not accept homosexuality.”

          414. When she came out, Danielle was separated from her peers in housing within 24

hours. She was subjected to questioning about her faith and was shamed during disciplinary

proceedings.

          415. Danielle was not allowed to spend time alone with her girlfriend.

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          416. Ultimately, Grace expelled Danielle.

          417. To make matters worse, Grace University demanded that Danielle repay over

$6,000 in institutional scholarship funds and initially refused to release her transcripts until she

did so.

          418. After Danielle’s expulsion, Grace changed its wording to expressly forbid same-
sex dating. Danielle says this change “made me feel vindicated as I realized other students would
not face the same problem I did when it came to misleading language in the code of conduct.”

                             Megan Steffen – Moody Bible Institute

          419. “I found myself in an environment that actively hated me and wanted me gone. I
felt like I was in survival mode every day."
          420. Megan Steffen was a student at Moody Bible Institute (MBI) in Chicago, Illinois.

          421. She attended MBI for many reasons, including that her sister went there, it was an

alcohol-free campus that would support her sobriety, and it was a Christian school.

          422. According to Megan, “I did not consider MBI’s stance towards LGBTQ+ students

at the time I decided to attend as I was not out, even to myself, yet.”

          423. Moody’s human sexuality statement states, “We conclude that non-marital sex,

homosexual sex, same-sex relationships, and transgender expressions are deviations from God’s

standard, misrepresenting the nature of God Himself.”

          424. Megan says her early years at Moody Bible Institute were good. However, when

she began coming out to close friends and family, her peers at MBI primarily responded

negatively.

          425. Megan began hearing about negative reactions to her sexual identity after she

posted pro-LGBTQ+ content on social media.




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        426. Fellow students began asking Megan to defend her sexuality and told her that her

lifestyle was wrong and sinful. She received anonymous mail telling her she should be ashamed

of herself for being a lesbian. She would occasionally get reported to MBI officials for her social

media posts.

        427. Megan says, “Attending MBI, which had felt safe and supportive before I came out,

became a place of fear that had turned against me.”

        428. Megan landed on the school administration’s radar after they told her they had

problems with her attending the Women’s March.

        429. Megan was forced to attend meetings with an MBI administrator at least ten times.

At these meetings, she would have to discuss social media posts, relationship status, and sexual

identity.

        430. In 2019, Megan received an official warning from MBI due to a social media post

where she said she was a lesbian. As a result, she had to agree to no longer post on social media

until Spring 2020, when she was done with school.

        431. She maintained her social media silence until she finished her classes and was no

longer on campus. However, she resumed posting prior to her graduation ceremony.

        432. When Megan posted again about an LGBTQ+ event that she attended, the school

threatened not to allow her to graduate.

        433. The school claimed professors had expressed concern about whether she should be

allowed to get her diploma from MBI.

        434. “The result of this was that, less than a week before graduation, I had to defend why

I deserved a diploma,” says Megan.




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          435. Megan continues, “it was clear during this meeting that I would not get my diploma

unless the answers I gave to their questions aligned with MBI’s policies about sexuality and

marriage. Because I had been placed in an impossible situation and my hard-earned degree was

on the line, I told MBI that I agreed with their non-affirming policies and planned to live according

to them. As a result, MBI allowed me to receive my diploma.”

          436. Megan graduated in May 2020 with a degree in Human Services. She said she was

so shaken by her final experience at Moody that she was scared for several months that she might

do something to upset MBI.

          437. Due to her experience at Moody, Megan’s depression and anxiety became very

severe. She had panic attacks, she couldn’t get out of bed, had insomnia, and dealt with suicidal

thoughts.

          438. “I cannot imagine ever finding myself in as abusive and manipulative of an

environment as I did at Moody,” Megan says.

                            Spencer Vigil – Seattle Pacific University

          439. “I felt like I was always doing something wrong being who I was. SPU’s grace had

edges.”

          440. Spencer Vigil attended Seattle Pacific University (SPU). He wanted to go to college

in a larger and more liberal city. Unfortunately, his experience as a trans man at SPU was one of

discrimination and harassment.

          441. One of SPU’s statements on human sexuality states that “human beings are created

in the image of God, male and female,” and “human sexuality is both a relational truth and gender

differentiated.”




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         442. It goes on to say that “while we affirm the institution of marriage, we also recognize

and affirm the call of some to singleness and celibacy.”

         443. Spencer tried to come out as trans in 2019. He began using his new name at SPU

but was publicly humiliated for his new name by a professor when Spencer asked that professor

to refer to him as "Spencer". In front of the class, the professor said: “I am not going to call you

that.”

         444. SPU confronted Spencer after he tried out for a male part in a theater department

production. “This was important to me because I wanted to play a character on-stage whose

gender was consistent with my gender off-stage.”

         445. He was asked to meet with a professor and given a document for “my and the

department’s protection.”

         446. This document stated that Spencer knew he was breaking lifestyle expectations at

SPU. It also detailed the various types of discipline he could face for doing this, including removal

from the school.

         447. “I did not agree with these things, but, at the time, I felt I had no other option. So,

I signed it,” Spencer says. When looking back on this, Spencer remembers, “I was so emotionally

devastated that I had trouble sleeping for months.”

         448. Spencer reported SPU’s discrimination to SPU but SPU did not take action in

response to Spencer’s report.

         449. Spencer continues to suffer from anxiety, depression, and insomnia because of his

experiences at SPU.




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                               Lucas Wilson – Liberty University

       450. “Repression, deep-seated shame, self-hatred: these were the enduring fruits of my

meetings. At the time, I didn’t understand that you can’t fix what isn’t broken.”

       451. Lucas was a student at Liberty University. The “meetings” Lucas describes are

conversion therapy. Lucas chose to attend this therapy. “It pains me that conversion therapy

remains an available option at Liberty and is encouraged by the administration.”

       452. Lucas also attended a group now called “Armor Bearers,” a conversion therapy

group for men. According to Liberty, “this is a group that helps male students struggling with

same-sex attraction and sex addiction.”

       453. Conversion therapy is offered as part of a “menu” by Liberty. A “menu” of

educational opportunities” from which students who accept responsibility for violating school

policies are given a choice.

       454. “Even if I was comfortable as a gay man and even if I accepted myself, I would

never have come out because of how homophobic the campus is,” Lucas says. He goes on to say,

“I was very anxious when I was on campus that people would know that I am gay, so I constantly

monitored how I presented myself. The school caused me a profound sense of shame, which let

me hate who I was for a long time.”

       455. Liberty University, by pushing students into conversion therapy or otherwise

disciplining them for being LGBTQ+, continues to treat students poorly, actively discriminates

against them, and attempts to change their sexual orientation.

       456. Lucas says that many LGBTQ+ students “continue to face such immense hatred on

a daily basis and must live in a queer subterfuge.”




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                       Audrey Wojnarowisch - George Fox University

       457. “We need George Fox to acknowledge our existence, affirm our identities, and stop

policing our relationships and our bodies.”

       458. Audrey Wojnarowisch is a student at George Fox University who will be

graduating in May 2022.

       459. She decided to go to George Fox for many reasons, including that it was close to

her family, it was a small school, and it had a Christian culture. “I appreciated the intimate ‘Be

Known’ promise of a community that would see who I am and care for me as an individual,"

Audrey says.

       460. George Fox University maintains a lifestyle agreement that discriminates against

its LGBTQ+ community. It dictates that “only marriage between a man and a woman is God’s

intention for the joyful fulfillment of sexual intimacy.” The sexuality and relationships section of

the student handbook prohibits “sexual immorality.”

       461. The school does not explicitly state that same-sex dating and displays of affection

are prohibited, but it is also unclear how GFU defines “sexual immorality.” It is difficult for

LGBTQ+ students to navigate these nebulous rules.

       462. Audrey came out her freshman year after another student came out at school and

received a positive reaction.

       463. The head of the student government issued a statement supporting and affirming

George Fox’s LGBTQ+ students. Audrey felt this was a great affirmation from the campus.

       464. However, this affirming message prompted the president of GFU to reiterate the

school’s official policy on sexuality.




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        465. While there are affirming members of faculty, those same faculty members fear

getting fired for their support.

        466. Even at the campus health and counseling center, there are no guarantees that

LGBTQ+ students would not be discriminated against.

        467. “I do not feel safe on campus. My needs and the needs of my fellow queer

classmates are constantly being ignored and minimized,” Audrey says.

        468. One need of Audrey’s that was ignored was the duty GFU owed to her under Title

IX after she reported a sexual assault.

        469. Audrey was sexually assaulted in her freshman year after being stalked and sent

hundreds of messages. She reported the assault to a resident advisor, who reported it to an area

coordinator. The area coordinator was supposed to file a Title IX complaint about the incident

but failed to do so.

        470. “Because George Fox did nothing to help me, I had to figure out how to handle this

as an 18-year-old freshman, who was unfamiliar with sex and dating, all on my own.”

        471. Audrey says, “I want George Fox’s policies to change so that I won’t be at the risk

of discipline for my identity or relationships so I, like other LGBTQ+ students, will be protected

if we experience unsafe situations, harassment, or violence.”

                                   CLASS ACTION ALLEGATIONS

        472. This action is properly maintained as a class action pursuant to Rules 23(a) and

23(b)(2) of the Federal Rules of Civil Procedure.

        473. The class is sufficiently numerous to make joinder impracticable.




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        474. Plaintiffs represent a class of more than 100,000 LGBTQ+ students who attend

taxpayer-funded religious colleges and universities that openly discriminate against them in both

policy and practice.

        475. The Plaintiffs’ experiences described above are typical and common of the class

they represent. LGBTQ+ students at religious colleges experience higher rates of harassment,

bullying, depression, anxiety, eating disorders, alcohol abuse and sexual and physical violence,

than their heterosexual and cisgender peers.

        476. Many students in this class are expelled, disciplined, subjected to conversion

therapy or other punishments.

        477. The LGBTQ+ students in the class are unable to turn to the Department of

Education for protection because their institutions have either affirmatively, or impliedly,

received religious exemptions from Title IX.

        478. The Plaintiff class representatives will adequately represent the class because they

are either current students, expelled students or otherwise former students of taxpayer-funded

religious colleges and universities that openly discriminate against LGBTQ+ students in policy

and practice.

                                 The Title IX Religious Exemption

       479.     The U.S. Department of Education and other federal agencies provide billions of

dollars annually ($4.2B in 2018) in funding to religious colleges and universities that discriminate

against LGBTQ+ students.

       480.     Title IX prohibits sex discrimination at all educational institutions that receive

federal funding. However, Title IX provides an exemption for educational institutions that are




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controlled by religious organizations to the extent that complying with Title IX would conflict

with the religious tenets of the controlling organization. See 20 U.S.C. § 1681(a)(3).

        481.    Prior to August 14, 2020, the federal regulations implementing the Title IX

religious exemption required an educational institution to affirmatively apply for a religious

exemption from the Department and to demonstrate that it was controlled by a religious

organization.

        482.    The Department has never rejected an educational institution’s assertion that it is

controlled by a religious organization. This remains true even where the educational institution has

no denominational ties, allows students from any religion or no religion at all to enroll in its

courses, and receives little or no income from an affiliated church or denomination.

        483.    At times, the Department has sought additional information regarding the religious

control of an educational institution, either from the institution or from the denomination or church

that purportedly controls the educational institution, to make a determination of whether the

educational institution met the Department’s standard for religious control.

        484.    Of the numerous religious exemptions sought by educational institutions seeking

permission from the Department to discriminate against sexual and gender minorities, all, or nearly

all, of the religious institutions have been institutions affiliated with the Christian faith.

        485.    Indeed, most of the institutions seeking religious exemptions are evangelical

Christian institutions affiliated with the Council for Christian Colleges & Universities (CCCU).

        486.    Under current regulations, 34 CFR § 106.12, an educational institution may seek

an “assurance of exemption” from the Department but a formal application for exemption is no

longer required: “An educational institution that seeks assurance of the exemption set forth in

paragraph (a) of this section may do so by submitting in writing to the Assistant Secretary a



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statement by the highest ranking official of the institution, identifying the provisions of this part

that conflict with a specific tenet of the religious organization. An institution is not required to

seek assurance from the Assistant Secretary in order to assert such an exemption. In the event the

Department notifies an institution that it is under investigation for noncompliance with this part

and the institution wishes to assert an exemption set forth in paragraph (a) of this section, the

institution may at that time raise its exemption by submitting in writing to the Assistant Secretary

a statement by the highest ranking official of the institution, identifying the provisions of this part

which conflict with a specific tenet of the religious organization, whether or not the institution had

previously sought assurance of an exemption from the Assistant Secretary.”

       487.    Prior to November 23, 2020, the federal regulations did not provide a test for the

Department to determine whether an educational institution qualified for the religious exemption.

The Department relied on internal guidance for that determination. See Exhibit LL.

       488.    However, under the new regulations, any of the following are sufficient for a

college or university to demonstrate to the Department that it is eligible for an exemption as an

educational institution “controlled by a religious organization: (1) That the educational institution

is a school or department of divinity. (2) That the educational institution requires its faculty,

students, or employees to be members of, or otherwise engage in religious practices of, or espouse

a personal belief in, the religion of the organization by which it claims to be controlled. (3) That

the educational institution, in its charter or catalog, or other official publication, contains an

explicit statement that it is controlled by a religious organization or an organ thereof, or is

committed to the doctrines or practices of a particular religion, and the members of its governing

body are appointed by the controlling religious organization or an organ thereof, and it receives a

significant amount of financial support from the controlling religious organization or an organ



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thereof. (4) That the educational institution has a doctrinal statement or a statement of religious

practices, along with a statement that members of the institution community must engage in the

religious practices of, or espouse a personal belief in, the religion, its practices, or the doctrinal

statement or statement of religious practices. (5) That the educational institution has a published

institutional mission that is approved by the governing body of an educational institution and that

includes, refers to, or is predicated upon religious tenets, beliefs, or teachings. (6) Other evidence

sufficient to establish that an educational institution is controlled by a religious organization,

pursuant to 20 U.S.C. 1681(a)(3).”

       489.    Finally, if an educational institution demonstrates that it is controlled by a religious

organization, it must also demonstration that application of Title IX would be inconsistent with its

religious tenants.

       490.    The Department has never denied a religious exemption when a religious

educational institution asserts a religious objection, no matter how vague or broad that objection

might be, and regardless of the severity of harm inflicted on the student whose complaint, or mere

existence, gave rise to the exemption request.

       491.    The Department has relied on religious exemptions to close Title IX complaints

filed by sexual and gender minority students against their colleges or universities.

                                      CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION

                (42 U.S.C. § 1983 – Substantive Due Process/Equal Protection)

   492.        Plaintiffs reallege and incorporate the preceding paragraphs.

   493.        Laws that target a socially despised group for legal disfavor violate the Equal

Protection of the laws guaranteed by the Fifth and Fourteenth Amendments.

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    494.        The religious exemption to Title IX targets Americans for disfavored treatment

based on their sex, including targeting based on sexual orientation and gender identity.

    495.        The Department’s policy and practice of denying Title IX claims based on Title

IX’s religious exemption targets Americans for disfavored treatment based on their sex, including

targeting based on sexual orientation and gender identity

    496.        LGBTQ+ people are a historically despised group in America.

    497.        LGBTQ+ people remain a despised group in many parts of America.

    498.        LGBTQ+ youth suffer from significant mental and physical health disparities, as

well as bullying and harassment at school.

    499.        The federal government cannot claim a legitimate governmental interest in

furthering discrimination that harms sexual and gender minority students.

    500.        Deference to an educational institution’s desire to harm an unpopular group, even

when based on sincerely held religious beliefs, cannot constitute a legitimate government interest.

    501.        The Department lacks a legitimate interest in supporting a desire to harm sexual

and gender minority students, whether the desire to harm is based on the sexual or gender minority

status of a student, or based on a student’s living in accordance with that status through the clothes

they wear or the gender of person they hold hands with on campus.

    502.        The law does not recognize an identity/conduct distinction.

    503.        The law does not recognize “love the sinner, hate the sin.”

    504.        Policies and laws targeting “homosexual conduct” or “transgender conduct” in fact

target LGBTQ+ identity.

    505.        Additionally, the freedom to marry someone of the same sex is a fundamental

constitutional right.



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   506.        The religious exemption to Title IX impermissibly burdens the fundamental

marriage rights of same-sex couples seeking to attend taxpayer funded religious educational

institutions that prohibit their marriages.

   507.        College and university policies prohibiting same-sex marriage at certain taxpayer-

funded institutions make LGBTQ+ students reluctant to exercise their fundamental right to

marriage while enrolled at such a college or graduate school out of fear that they will be expelled.

   508.        Many LGBTQ+ students delay their engagements and/or marriages out of fear of

retaliation from their colleges and universities.

   509.         When sincerely held religious beliefs become enacted as school policies that harm

LGBTQ+ students at taxpayer-funded colleges and universities, the necessary consequence is that

the U.S. Department of Education has put its imprimatur on an exclusion that demeans and

stigmatizes sexual and gender minorities.

   510.         Here, the religious exemption to Title IX, and the Department’s implementation of

that exemption, result in concrete, verifiable and widespread harms to sexual and gender minority

students in violation of the due process and equal protection guarantees of the Firth and Fourteenth

Amendments.

   511.        The named Plaintiffs, and all members of the class, have been and/or are at risk of

being deprived of substantive due process and equal protection rights conferred upon them by the

United States Constitution.

   512.        These constitutional rights include:

                   a. The right to freedom from bias-related violence, abuse and harassment,

                       including the right to be free from conversion therapy;




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                   b. The right to freedom from systemic discrimination based on sexual

                       orientation, gender identity and gender expression;

                   c. The right to marry the person of one’s choosing, regardless of sex or gender;

                   d. The right to privacy regarding sexual orientation, gender identity and

                       gender expression;

                   e. The right to medically necessary gender-affirming medical and

                       psychological care;

                   f. The right to culturally competent sexual and reproductive health services,

                       including HIV prevention and treatment; and

                   g. The right to be clothed and groomed consistent with one’s sexual

                       orientation, gender expression and gender identity.

                                 SECOND CAUSE OF ACTION

                           (42 U.S.C. § 1983 - Establishment Clause)

   513.        Plaintiffs reallege and incorporate the preceding paragraphs.

   514.        The religious exemption to Title IX does not serve a secular legislative purpose.

   515.        The religious exemption to Title IX benefits some religious educational institutions

over other religious educational institutions.

   516.        To qualify for the exemption, religious educational institutions must operate

according to certain governance structures and maintain certain beliefs. Religious educational

institutions without such structures or beliefs cannot benefit from the religious exemption.

   517.        The religious exemption to Title IX benefits religious educational institutions over

non-religious educational institutions. To qualify for the exemption,          religious educational

institutions must operate according to certain governance structures and maintain certain religious

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beliefs. Educational institutions without such governance structures or beliefs cannot benefit from

the religious exemption.

   518.        The religious exemptions to Title IX sought for the purpose of discriminating

against LGBTQ+ students primarily or exclusively benefit Christian educational institutions.

   519.        The religious exemption to Title IX primarily benefits religion because it relieves

certain religious institutions of regulatory burdens and liability that all other educational

institutions must bear.

   520.        The religious exemption to Title IX prevents the Department of Education from

conducting its work in a manner that is neutral with respect to religion.

   521.        The religious exemption does not operate in an even-handed manner among

religions because religious educational institutions that affirm LGBTQ+ identities remain subject

to Title IX claims when their agents discriminate against LGBTQ+ students or when they fail to

address harassment and bullying of LGBTQ+ students.

   522.        Religious educational institutions that do not affirm LGBTQ+ identities receive a

license to discriminate from the Department of Education.

   523.        The religious exemption to Title IX results in excessive entanglement with religion

because the Department must request and analyze the governing structure and religious beliefs of

the religious educational institution and/or its governing religious organization to determine

whether the institution qualifies for a religious exemption.

   524.        Here, the religious exemption to Title IX, and the Department’s implementation of

that exemption, result in concrete, verifiable and widespread harms to sexual and gender minority

students in violation of the Establishment Clause of the First Amendment.




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                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs, for themselves and all others similarly situated, pray that this Court:

   A. Order that this action may be maintained as a class action pursuant to Rule 23(b)(1) and

       Rule 23(b)(2) of the Federal Rules of Civil Procedure.

   B. Enter judgment declaring that the religious exemption to Title IX, as applied to the class

       of sexual and gender minority students, is unconstitutional as it violates the First, Fifth and

       Fourteenth Amendments of the U.S. Constitution;

   C. Enter a permanent injunction:

          a. Prohibiting Defendants from granting further religious exemptions to Title IX as

              applied to sexual and gender minority students;

          b. Rescinding all prior religious exemptions to Title IX as applied to sexual and gender

              minority students;

          c. Mandating that Defendants treat Title IX complaints from sexual and gender

              minority students at all taxpayer-funded religious colleges in the same manner as

              complaints from sexual and gender minority students at taxpayer-funded non-

              religious colleges.

          d. Requiring the Department to ensure that all federally-funded educational

              institutions respect the sexual orientation, gender identity and gender expression of

              their students.

   D. Enter judgment awarding Plaintiffs their costs and reasonable attorneys’ fees, pursuant to

       28 U.S.C. § 1920 and 42 U.S.C. § 1988, and Federal Rules of Civil Procedure 23(e) and

       (h); and




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   E. Grant such other and further relief as the Court deems just, necessary, and proper to protect

      Plaintiffs and the class members from further harm.

Dated: March 29, 2021

                                                            s/ Paul Carlos Southwick

                                                            Paul Carlos Southwick
                                                            (OSB 095141)
                                                            TRIAL ATTORNEY
                                                            Religious Exemption
                                                            Accountability Project
                                                            Paul Southwick Law, LLC
                                                            8532 N. Ivanhoe St. #208,
                                                            Portland, OR 97203
                                                            Email: paul@paulsouthwick.com
                                                            Phone: 503-806-9517




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